Case 21-30085-hdh11 Doc 359 Filed 03/15/21             Entered 03/15/21 12:10:18        Page 1 of 2



Michael W. May, SBN: 24054882
United States Department of Justice
717 North Harwood Street, Suite 400
Dallas, TX 75201
Telephone: (214) 880-9730
Facsimile: (214) 880-9741
michael.w.may@usdoj.gov
Counsel for United States of America

                    IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION

In re:                        §
                              §
NATIONAL RIFLE ASSOCIATION OF §                       Case No. 21-30085-hdh11
AMERICA,                      §
                              §
DEBTOR                        §

         NOTICE OF APPEARANCE AND REQUEST FOR SERVICE & NOTICE


         PLEASE TAKE NOTICE that Michael W. May hereby enters his appearance on behalf

of Creditor United States of America and its agency, the Internal Revenue Service, and requests

notice and copies of all motions, notices, reports, briefs, applications, adversary proceedings,

proposed orders, confirmed copies of orders, and proposed disclosure statement or plan of

reorganization that has been filed with the court, any other documents or instruments filed in the

above-referenced proceedings, and any other matter of which notice to creditors and/or interested

parties is required pursuant to Bankruptcy Rules 2002, 3015, 9007, and 9010, and Bankruptcy

Code § 342. All notices and papers in this case shall be served upon the parties listed below at

the following address:

                                       MICHAEL W. MAY
                                   Trial Attorney, Tax Division
                                   U.S. Department of Justice
                                   717 N. Harwood, Suite 400
                                       Dallas, Texas 75201
                                      (214) 880-9730 (TEL)
Case 21-30085-hdh11 Doc 359 Filed 03/15/21   Entered 03/15/21 12:10:18     Page 2 of 2




                              (214) 880-9741 (FAX)
                             michael.w.may@usdoj.gov
Dated: March 15, 2021
                                     Respectfully submitted,

                                     DAVID A. HUBBERT
                                     Acting Assistant Attorney General
                                     Department of Justice, Tax Division

                                     s/Michael W. May
                                     MICHAEL W. MAY
                                     TX Bar No. 24054882
                                     Trial Attorney, Tax Division
                                     U.S. Department of Justice
                                     717 N. Harwood, Suite 400
                                     Dallas, Texas 75201
                                     (214) 880-9730 (TEL)
                                     (214) 880-9741 (FAX)
                                     michael.w.may@usdoj.gov
